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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
  In re:                                           §         Chapter 11
                                                   §
  WC 1st and Trinity, LP,                          §         Case No. 20-10885-tmd
                                                   §
            Debtor.                                §

                    GLOBAL NOTES, METHODOLOGY AND SPECIFIC
               DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
           ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                            Introduction

          On August 5, 2020 (the “Petition Date”), the above-captioned debtor and debtor-in-
  possession in the above-captioned chapter 11 case ( the “Debtor,”) filed a voluntary petition for
  relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

          Pursuant to the requirements of Bankruptcy Code Section 521 and Rule 1007 of the Federal
  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtor, with the assistance of its
  advisors, has filed its Schedules of Assets and Liabilities (the “Schedules”) and Statements of
  Financial Affairs (the “Statements”) with the United States Bankruptcy Court for the Western
  District of Texas (the “Bankruptcy Court”).

         WC 1st and Trinity GP, LLC (“General Partner”) is the general partner of the Debtor and
  Barbara Lee, authorized representative of the general partner, has signed the Schedules and
  Statements as General Partner’s representative. In reviewing and signing the Schedules and
  Statements, Barbara Lee has relied upon the information in the books and records of the Debtor.
  Barbara Lee has not (and could not have) personally verified the accuracy of each statement and
  representation contained in the Schedules and Statements, including statements and
  representations concerning amounts owed to creditors.

          These Global Notes, Methodology and Specific Disclosures Regarding the Debtor’s
  Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
  pertain to, are incorporated by reference in and comprise an integral part of the Debtor’s Schedules
  and Statements. The Global Notes should be referred to and reviewed in connection with any
  review of the Schedules and Statements.
          The Schedules and Statements do not purport to represent financial statements prepared in
  accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
  are they intended to be fully reconciled with the financial statements of the Debtor. Additionally,
  the Schedules and Statements contain unaudited information that is subject to further review and
  potential adjustment, and reflect the Debtor’s commercially reasonable best efforts to report the
  assets and liabilities of the Debtor on an unconsolidated basis.
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          In preparing the Schedules and Statements, the Debtor relied upon financial data derived
  from its books and records that was available at the time of such preparation. Although the Debtor
  has made reasonable efforts to ensure the accuracy and completeness of such financial information,
  inadvertent errors or omissions, as well as the discovery of conflicting, revised or subsequent
  information, may cause a material change to the Schedules and Statements. Thus, the Debtor is
  unable to warrant or represent the Schedules and Statements are without inadvertent errors,
  omissions or inaccuracies. Accordingly, the Debtor reserves all of its rights to amend, supplement
  or otherwise modify the Schedules and Statements as is necessary and appropriate.
  Notwithstanding the foregoing, the Debtor shall not be required to update, amend or supplement
  the Schedules and Statements, but reserve the right to do so.

                            Global Notes and Overview of Methodology

  Reservation of Rights. Nothing contained in the Schedules and Statements shall constitute a
  waiver of the Debtor’s rights or an admission with respect to its chapter 11 case, including, without
  limitation, any issues involving substantive consolidation, equitable subordination, offsets or
  defenses and/or causes of action arising under, inter alia, the provisions of Chapter 5 of the
  Bankruptcy Code and any other relevant non-bankruptcy laws.

  Description of Cases. On the Petition Date, the Debtor filed a voluntary petition for relief pursuant
  to Chapter 11 of the Bankruptcy Code. The Debtor is operating its business and managing its
  property as Debtor-in-possession pursuant to Bankruptcy Code Sections 1107(a) and 1108. No
  trustee or examiner has been requested in this chapter 11 case, and no committees have been
  appointed or designated.

  Net Book Value of Assets. Unless otherwise indicated, the Debtor’s Schedules and Statements
  reflect net book values as of August 5, 2020. The market value of the Debtor’s Real Property varies
  materially from the net book value of such assets. Specifically, the Real Property owned by the
  Debtor is valued at approximtely $60,380,000 based on a recent appraisal.

  Recharacterization. Notwithstanding the Debtor’s commercially reasonable best efforts to
  properly characterize, classify, categorize or designate certain claims, assets, executory contracts,
  unexpired leases and other items reported in the Schedules and Statements, the Debtor may
  nevertheless have improperly characterized, classified, categorized, designated or omitted certain
  items. Accordingly, the Debtor reserves all of its rights to recharacterize, reclassify, recategorize,
  redesignate, add or delete items reported in the Schedules and Statements at a later time as is
  necessary and appropriate, as additional information becomes available.

  Liabilities. The Roy F. & Joann Cole Mitte Foundation (the “Minority Partner”) filed a lawsuit
  in state court under Cause No. D-1-GN-18-007636, The Roy F. & Joann Cole Mitte Foundation
  v. WC 1st and Trinity, LP; WC 1st and Trinity, GP, LLC; WC 3rd and Congress, LP; and, WC 3rd
  and Congress, GP, LLC, in the District Court of Travis County, Texas (the “State Court”). In
  December 2019, the State Court entered an order appointing Gregory S. Milligan (“Milligan”) of
  Harney Partners as receiver of Debtors WC 1st and Trinity, LP and WC 3rd and Congress, LP
  (collectively, the “LP Debtors”), setting forth the respective duties and obligations of the LP
  Debtors and Milligan. Milligan has not yet delivered an accounting of his receivership. With
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  respect to the books and records, including assets and liabilities, for the time period during which
  Milligan was appointed over the Debtor, the Debtor and its representatives do not currently
  have information about the assets held by or liabilities incurred by Milligan. As such, following
  the receipt of that information, to extent that the Debtor subsequently determines that any such
  information necessitates an amendment or modification to the Statements and Schedules, then the
  Debtor shall file such amendments or modifications.

  The Debtor allocated liabilities between the prepetition and postpetition periods based on the
  information and research conducted in connection with the preparation of the Schedules and
  Statements. As additional information becomes available and further research is conducted, the
  allocation of liabilities between the prepetition and postpetition periods may change. Accordingly,
  the Debtor reserves all of its rights to amend, supplement or otherwise modify the Schedules and
  Statements as is necessary and appropriate as it determines in its sole and absolute discretion,
  including but not limited to any the inclusion of the Debtor’s assets held by or the Debtor’s
  liabilities incurred by Milligan, the details of which are currently unknown by the Debtor.

  The liabilities listed on the Schedules do not reflect any analysis of claims pursuant to Bankruptcy
  Code Section 503(b)(9). Accordingly, the Debtor reserves all of its rights to dispute or challenge
  the validity of any asserted claims under Bankruptcy Code Section 503(b)(9) or the
  characterization of the structure of any such transaction or any document or instrument related to
  any creditor’s claim.


  Insiders. For purposes of the Schedules and Statements, the Debtor defines “insiders” pursuant to
  section 101(31) of the Bankruptcy Code to include the following: (a) directors; (b) officers;
  (c) shareholders holding in excess of 5% of the voting shares of the Debtor (whether directly or
  indirectly); (d) relatives of directors, officers or shareholders of the Debtor (to the extent known
  by the Debtor); (e) persons in control; and (f) Debtor/non-Debtor affiliates.

  Persons listed as “insiders” have been included for informational purposes only. The Debtor does
  not take any position with respect to: (a) such person’s influence over the control of the Debtor;
  (b) the management responsibilities or functions of such individual; (c) the decision-making or
  corporate authority of such individual; or (d) whether such individual could successfully argue that
  he or she is not an “insider” under applicable law, including the federal securities laws, or with
  respect to any theories of liability or for any other purpose.


  Classifications. Listing a claim on (a) Schedule D as “secured,” (b) Schedule E/F as “priority,”
  (c) Schedule E/F as “unsecured” or (d) listing a contract or lease on Schedule G as “executory” or
  “unexpired,” does not constitute an admission by the Debtor of the legal rights of the claimant or
  a waiver of the Debtor’s rights to recharacterize or reclassify such claims or contracts or leases or
  to setoff of such claims.

  Claims Description. Schedules D and E/F permit the Debtor to designate a claim as “disputed,”
  “contingent” and/or “unliquidated.” Any failure to designate a claim on the Debtor’s Schedules as
  “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that
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  such amount is not “disputed,” “contingent” or “unliquidated,” or that such claim is not subject to
  objection. The Debtor reserves all of its rights to dispute, or assert offsets or defenses to, any claim
  reflected on its Schedules and Statements on any grounds, including liability or classification.
  Additionally, the Debtor expressly reserves all of its rights to subsequently designate such claims
  as “disputed,” “contingent” or “unliquidated.” Moreover, listing a claim does not constitute an
  admission of liability by the Debtor.

  Causes of Action. Despite reasonable efforts, the Debtor may not have identified and/or set forth
  all of its (filed or potential) causes of action against third parties as assets in its Schedules and
  Statements. The Debtor reserves all of its rights with respect to any causes of action against third
  parties and nothing in the Global Notes or the Schedules and Statements shall be deemed a waiver
  of any such causes of action which are expressly reserved.

  Summary of Significant Reporting Policies. The following is a summary of significant reporting
  policies:

                 a.       Undetermined Amounts. The description of an amount as
                          “unknown,” “TBD” or “undetermined” is not intended to
                          reflect upon the materiality of such amount.

                 b.       Totals. All totals that are included in the Schedules and
                          Statements represent totals of all known amounts. To the
                          extent there are unknown or undetermined amounts, the
                          actual total may be different than the listed total.

                 c.       Liens. Property, inventory and equipment listed in the
                          Schedules may be presented without consideration of any
                          liens that may attach (or have attached) to such property
                          and equipment.

                 d.       Currency. Unless otherwise indicated, all amounts are
                          reflected in U.S. dollars.

  Global Notes Control. In the event that the Schedules and Statements differ from the foregoing
  Global Notes, the Global Notes shall control.

                      Specific Disclosures with Respect to the Debtor’ Schedules

  Schedule A/B. The Debtor may have listed certain assets as real property when such assets are in
  fact personal property, or the Debtor may have listed certain assets as personal property when such
  assets are in fact real property. The Debtor reserves all of its rights to recategorize and/or
  recharacterize such asset holdings to the extent the Debtor determines that such holdings were
  improperly listed.

  Unless indicated otherwise, asset values described in Schedule A/B are representative of values
  reflected on the Debtor’s August 5, 2020 balance sheets.
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  The Frost bank account ending in x4166 was opened by Milligan; the Debtor and its representatives
  do not currently have information about this account or its balance. As such, following the receipt
  of such information, Debtor shall file such amendments or modifications accordingly.


  Schedule A/B - 11. The Debtor has disclosed the net book value with respect to any accounts
  receivable listed on Schedule A/B-11, which represents the amount of the accounts receivable
  netted by any “doubtful accounts.” For purposes of Schedule A/B-11, “doubtful accounts” are
  those accounts that the Debtor has identified as unlikely to be paid given the amount of time such
  accounts have been outstanding.

  Schedule A/B - 75. In the ordinary course of its business, the Debtor may have accrued, or may
  subsequently accrue, certain rights to causes of action, counterclaims, setoffs, or refunds with
  various parties. Additionally, the Debtor may be a party to pending litigation in which the Debtor
  has asserted, or may assert, causes of action as a plaintiff or counter-claims as a defendant. To the
  extent such rights are known and quantifiable, they are listed on Schedule A/B-75; however, any
  such rights which are unknown to the Debtor or not quantifiable as of the Petition Date are not
  listed on Schedule A/B-75.

  Schedule D. Effective as of December 14, 2015, each of Nate Paul, World Class Capital Group,
  LLC, and The Natin Paul Management Trust Dates February 29, 2012 (each as a “Guarantor”),
  executed a certain Guaranty Agreement in favor of United Heritage Credit Union.


  Schedule E/F, Part 1. The claims listed on Schedule E/F, Part 1 arose or were incurred on various
  dates; a determination of the date upon which each claim arose or was incurred would be unduly
  burdensome and cost prohibitive. Accordingly, not all such dates are included for each claim. All
  claims listed on Schedule E/F, Part 1, however, appear to have arisen or to have been incurred
  before the Petition Date.

  Schedule E/F, Part 2. The Debtor has used its commercially best reasonable efforts to report all
  general unsecured claims against the Debtor on Schedule E/F, Part 2 based upon the Debtor’s
  existing books and records as of the Petition Date. The claims of individual creditors for, among
  other things, products, goods or services are listed as either the lower of the amounts invoiced by
  such creditor or the amounts entered on the Debtor’s books and records and may not reflect credits
  or allowances due from such creditors to the Debtor. The Debtor reserves all of its rights with
  respect to any such credits and allowances including the right to assert objections and/or setoffs
  with respect to same. The Debtor has made every effort to include as a contingent, unliquidated or
  disputed the claim of any vendor not included on the Debtor’s open accounts payable that is
  associated with an account that has an accrual or receipt not invoiced. Further, as noted above, the
  Debtor and its representatives do not currently have information about the assets held by or
  liabilities incurred by Milligan. As such, following the receipt of such information, to extent that
  the Debtor subsequently determines that any such information is inaccurate such that it necessitates
  an amendment or modification to the Statements and Schedules then the Debtor shall file such
  amendments or modifications.
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  To the extent they are known, Schedule E/F, Part 2 reflects the prepetition amounts owing to
  counterparties to executory contracts and unexpired leases. Such prepetition amounts, however,
  may be paid in connection with the assumption or the assumption and assignment of an executory
  contract or unexpired lease. Additionally, Schedule E/F, Part 2 does not include potential rejection
  damage claims, if any, of the counterparties to executory contracts and unexpired leases that may
  be rejected.

  Additionally, Schedule E/F, Part 2 lists an amount due to WC 1st and Trinity GP, LLC, which
  consists of $743,299.08 in advances for expenses actually paid by the general partners (including
  by way of example, debt service, property taxes and external legal invoices), $662,550 for legal
  services provided through the general partner, $3,832.26 in clerical services provided through the
  general partner, $80.00 in annual filing fees, and $709,882.25 for contractual asset management
  fees owed to the general partner. For the avoidance of doubt, the portion related to advances
  consists only of actual advances paid and does not include any accrued but unpaid expenses.

  Schedule G. Although the Debtor’s existing books, records and financial systems have been relied
  upon to identify and schedule executory contracts and unexpired leases at the Debtor and diligent
  efforts have been made to ensure the accuracy of the Debtor’s Schedule G, inadvertent errors,
  omissions or over-inclusion may have occurred. Certain information, such as the contact
  information of the counter-party, may not be included where such information could not be
  obtained using the Debtor’s reasonable efforts.

  Listing a contract or lease on Schedule G does not constitute an admission that such contract or
  lease is an executory contract or unexpired lease or that such contract or lease was in effect on the
  Petition Date or is valid or enforceable. The Debtor hereby reserves all of its rights to dispute the
  validity, status or enforceability of any contracts, leases or other agreements set forth on Schedule
  G and to amend or supplement Schedule G as necessary. Certain of the contracts and leases listed
  on Schedule G may contain certain renewal options, guarantees of payment, indemnifications,
  options to purchase, rights of first refusal and other miscellaneous rights. Such rights, powers,
  duties and obligations are not set forth separately on Schedule G.

  Certain confidentiality or non-disclosure agreements may not be listed on Schedule G. The Debtor
  reserves all of its rights with respect to such agreements.

  Certain of the contracts and leases listed on Schedule G may consist of several parts, including
  purchase orders, amendments, restatements, waivers, letters and other documents that may not be
  listed on Schedule G or that may be listed as a single entry. The Debtor expressly reserves its rights
  to challenge whether such related materials constitute an executory contract or unexpired lease, a
  single contract or lease or multiple, severable or separate contracts or leases.

  The contracts, leases and other agreements listed on Schedule G may have expired or may have
  been modified, amended or supplemented from time to time by various amendments, restatements,
  waivers, estoppel certificates, letters, memoranda and other documents, instruments and
  agreements that may not be listed therein despite the Debtor’s use of reasonable efforts to identify
  such documents.
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  The Debtor reserves all of its rights, claims and causes of action with respect to the contracts and
  leases on Schedule G, including the right to dispute or challenge the characterization of the
  structure of any transaction or any document or instrument related to a creditor’s claim.

  In addition, the Debtor may have entered into various other types of agreements in the ordinary
  course of its business, such as subordination, nondisturbance and attornment agreements,
  supplemental agreements, amendments/letter agreements, title agreements and confidentiality
  agreements. Such documents may not be set forth on Schedule G. Further, the Debtor reserves all
  of its rights to alter or amend these Schedules to the extent that additional information regarding
  the Debtor obligor to such executory contracts or unexpired leases becomes available. Certain of
  the executory contracts or unexpired leases may not have been memorialized and could be subject
  to dispute. Executory contracts that are oral in nature have not been included on Schedule G.

  Omission of a contract or lease from Schedule G does not constitute an admission that such omitted
  contract or lease is not an executory contract or unexpired lease. The Debtor’s rights under the
  Bankruptcy Code with respect to any such omitted contracts or leases are not impaired by the
  omission.

  The listing of any contract or lease on Schedule G does not constitute an admission by the Debtor
  as to the validity of any such contract or lease or an admission that such contract or lease is an
  executory contract or unexpired lease. The Debtor reserves all of its rights to dispute the
  effectiveness of any such contract or lease listed on Schedule G or to amend Schedule G at any
  time to remove any contract or lease.


  Schedule H. For purposes of Schedule H, the Debtor may not have identified certain guarantees
  associated with the Debtor’s executory contracts, unexpired leases, secured financings, debt
  instruments and other such agreements. The Debtor reserves all of its rights to amend the Schedules
  to the extent that additional guarantees are identified or such guarantees are discovered to have
  expired or be unenforceable.

  In the ordinary course of its business, the Debtor may be involved in pending or threatened
  litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom may
  assert cross-claims and counter-claims against other parties. Because all such claims are
  contingent, disputed or unliquidated, such claims have not been set forth individually on Schedule
  H. Litigation matters can be found on each Debtor’s Schedule A/B-75 and SOFA 7. as applicable.

                   Specific Disclosures with Respect to the Debtor’ Statements

  Statement 7. Information provided in Statement 7 includes only those legal disputes and
  administrative proceedings that are formally recognized by an administrative, judicial or other
  adjudicative forum. In the Debtor’s attempt to provide full disclosure, to the extent a legal dispute
  or administrative proceeding is not formally recognized by an administrative, judicial or other
  adjudicative forum due to certain procedural conditions that counterparties have yet to satisfy, the
  Debtor has identified such matters on Schedule E/F, Part 2. Additionally, any information
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  contained in Statement 7 shall not be a binding representation of the Debtor’s liabilities with
  respect to any of the suits and proceedings identified therein.



                            [Remainder of page intentionally left blank.]
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 Fill in this information to identify the case:

 Debtor name ____________________________
                WC 1st and Trinity, LP _____ _____ _____ ______ _____ _____ _____ _

                                                                                                                  Texas
 United States Bankruptcy Court f or the: _______________________
                                           Western                District of ________
                                                                                                                 (State)
                                       20 - 10885-tmd
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         60,380,000
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                   37,500
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                    60,417,500
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  7,896,007
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                   0
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________
                                                                                                                                                                                                  2,674,241




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                $ ________________
                                                                                                                                                                                                  10,570,248
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                               50
  Fill in this information to identify the case:

                  WC 1st and Trinity, LP
  Debtor name __________________________________________________________________

                                          Western                           Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
                              20-10885
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   X
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________
                                                                                                                                    0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
          Frost Bank (See Global Notes)                         Checking Account                 3     8      9    0
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____                Unknown
                                                                                                                                  $______________________
         Mechanics Bank                                    Checking Account                      4    1    6    6
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                  0.00
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
                                                                                                                                     Unknown
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   X
          Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
          Legal retainer to Hance Scarborough, LLP                                                                                   37,500.00
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
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            WC 1st and Trinity, LP
Debtor     _______________________________________________________50                        20-10885
                                                                     Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
                                                                                                                                         0.00
                                                                                                                                          0.00
                                                                                                                                  $_______________________
   8.2.___________________________________________________________________________________________________________

9. Total of Part 2.
                                                                                                                                 $______________________
                                                                                                                                   37,500.00
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    X
      No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                        0.00
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    X
       No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                                             0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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            WC 1st and Trinity, LP                                                           20-10885
Debtor     _______________________________________________________50 Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    X
       No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                                    0.00
                                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    X
       No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
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            WC 1st and Trinity, LP                                                          20-10885
Debtor     _______________________________________________________50 Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                                      0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    X
      No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                                         0.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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            WC 1st and Trinity, LP                                                           20-10885
 Debtor    _______________________________________________________50 Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    X No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                                  0.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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                                                                                             20-10885
           _______________________________________________________50
Debtor
           WC 1st and Trinity, LP                                    Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    X
      Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
                                                             Fee Simple            9,397,706.52        12/31/19 Appraisal         60,380,000.00
         99 Trinity St, Austin, TX 78701
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             60,380,000.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    X
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
    
    X     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    X
       No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
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           _______________________________________________________50
Debtor
            WC 1st and Trinity, LP                                                          20-10885
                                                                     Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    X
          Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    See attached list                                                                                                                     Unknown
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                                  0.00
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
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             WC 1st and Trinity, LP                                                           20-10885
Debtor      _______________________________________________________50 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________
                                                                                                               Unknown (See Global Notes)

                                                                                                           37,500.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________

                                                                                                                 0.00
82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________

                                                                                                                 0.00
83. Investments. Copy line 17, Part 4.                                                                   $_______________

                                                                                                                 0.00
84. Inventory. Copy line 23, Part 5.                                                                     $_______________

                                                                                                                 0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                                 0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                                 0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________
                                                                                                                                                 60,380,000.00

                                                                                                                 0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________

                                                                                                                 0.00
90. All other assets. Copy line 78, Part 11.                                                        +    $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________
                                                                                                           37,500.00
                                                                                                                                     +   91b.
                                                                                                                                                $________________
                                                                                                                                                 60,380,000.00




                                                                                                                                                                      60,417,500.00
                                                                                                                                                                    $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
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                                               50
  Fill in this information to identify the case:

                    WC 1st and Trinity, LP
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: ______________________
                                          Western                District of _________
                                                                             Texas
                                                                                        (State)

  Case number (If known):
                                20-10885 - tmd
                               _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
             United Heritage Credit Union
     __________________________________________                           Real Property first lien                                   7,692,273           60,380,000
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
             PO Box 271
     ________________________________________________________   ___________________________________________________
             Fort Worth, Texas. 76101
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
                                                                 Secured Loan

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
            Travis County Tax Collector
     __________________________________________                         Real Estate Taxes                              203,734
                                                                ___________________________________________________ $__________________                 $_________________
                                                                         2019 and Accrued 2020
                                                                ___________________________________________________
    Creditor’s mailing address
                PO Box 149328
     ________________________________________________________   ___________________________________________________
                Austin, TX 78751
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    7,896,007
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
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  Debtor    _______________________________________________________50 Case number (if known)_____________________________________
            Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________                 ___________________________________________________
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes


    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
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                  WC 1st and Trinity, LP
                                                 50                            20-10885- tmd
Debtor           _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
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   Fill in this information to identify the case: 50

   Debtor
                   WC  1st and Trinity, LP
                   __________________________________________________________________
                                           Western                            Texas
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
                                            20-10885- tmd
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________
                                                                                                                         Unknown                  $_________________
     __________________________________________________________________
      Texas Comptroller of Public Accounts                                Check all that apply.
    ___________________________________________
     Revenue Accounting Division - Bankruptcy                                Contingent
                                                                             Unliquidated
    ___________________________________________
     P.O. Box 13528 Capitol Station, Austin 78711                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
                                                                            Franchise Tax
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                               8




2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
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  Debtor      _______________________________________________________   Case number (if known)_____________________________________
              Name                                                   50
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                              No
                                                                                Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                              No
                                                                                Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________
                                                                               Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                              No
                                                                                Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________                             Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                              No
                                                                                Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
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  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   50
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:               52,655.10
                                                                 Check all that apply.                                     $____________________________
                 Alexander Dubose & Jefferson LLP
    ____________________________________________________________
                                                                  Contingent
                 515 Congress Avenue, Suite 2350                  Unliquidated
    ____________________________________________________________  Disputed
    ____________________________________________________________
                 Austin, TX 78701                                                               Services
                                                                           Basis for the claim: ________________________

                                               2020                        Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:         Unknown
                                                                           Check all that apply.                           $________________________________
                 City of Austin.
    ____________________________________________________________
                                                                              Contingent
                   PO Box 2267
                                                                              Unliquidated
    ____________________________________________________________              Disputed
                 Austin, TX 78783
    ____________________________________________________________                                Utilities Service
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            2020
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                                                                             109,761.64
                 Hance Scarborough, LLP
    ____________________________________________________________
                                                                              Contingent
                  400 W. 15th Street, Suite 950                               Unliquidated
    ____________________________________________________________              Disputed
                 Austin, TX 78701
    ____________________________________________________________                                Services
                                                                           Basis for the claim: ________________________
                                               2020                        Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:         Unknown
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                   Harney Partners.
                                                                              Contingent
                    3800 N Lamar Blvd., Suite 200                             Unliquidated
    ____________________________________________________________              Disputed
                   Austin, Texas 78756
    ____________________________________________________________
                                                                           Basis for the claim: Services
                                                                                                ________________________

                                               2020                        Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:          726.15
                                                                 Check all that apply.                           $________________________________
                 KBGE
    ____________________________________________________________
                                                                  Contingent
               105 West Riverside Drive, Suite 110
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
                Austin, Texas 78704
    ____________________________________________________________
                                                                 Basis for the claim: Services
                                                                                        ________________________
                                               2020                        Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
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                             and Trinity, LP 09/01/20 Entered 09/01/20 05:45:49 Main Document                     Pg 24 of
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  Debtor    _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   50
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                             Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                           281,615.29
                                                                     Check all that apply.                               $________________________________
     ___________________________________________________________
                    King & Spalding, LLP                                Contingent
                                                                        Unliquidated
                    500 West 2nd Street, Suite 1800                     Disputed
     ___________________________________________________________        Liquidated and neither contingent nor
                     Austin, TX 78701
     ___________________________________________________________         disputed
                                                                                          Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          2020
                                             ___________________     Is the claim subject to offset?
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:               1,100.00
                                                                     Check all that apply.                               $________________________________
                    San Marcos Eatery I, LLC / Newks
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
                    3821 Lorna Rd Suite #107
     ___________________________________________________________        Disputed
                   Hoover, AL 35244
     ___________________________________________________________
                                                                                          Security deposit refund
                                                                     Basis for the claim: ________________________
                                              2020                   Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                   Unknown
                                                                 Check all that apply.                                   $________________________________
                 Streusand, Landon, Ozburn  and Lemmon,  LP
     ___________________________________________________________
                                                                  Contingent
                  1801 S.Mopac Expressway, Suite 320
                                                                  Unliquidated
     ___________________________________________________________  Disputed
                 Austin, Texas 78746
     ___________________________________________________________                           Services
                                                                     Basis for the claim: ________________________
                                              2020                   Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:        2,191,563.59
                                                                 Check all that apply.                                   $________________________________
     ___________________________________________________________
                WC 1st and Trinity GP, LLC
                                                                        Contingent
                                                                        Unliquidated
     ___________________________________________________________
                814 Lavaca Street                                       Disputed
     ___________________________________________________________
                Austin, TX 78701
                                                                                             Services   and advances, see global notes
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:         36,007.09
       Munsch Hardt Kopf & Harr, P.C.                                Check all that apply.                               $________________________________
     ___________________________________________________________
       500 N Akard Street                                               Contingent
       Suite 3800
                                                                     
                                                                     X
                                                                         Unliquidated
     ___________________________________________________________        Disputed
       Dallas, TX     75201-6659
     ___________________________________________________________
                                                                     Basis for the claim: ________________________
                                                                                           Services
                                               2019                  Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
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             WC 1st andDoc#54
                           Trinity, Filed
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  Debtor    _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   50
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:         812.40
      Veritext, LLC                                                Check all that apply.                           $________________________________
     ___________________________________________________________      Contingent
                                                                      Unliquidated
       PO Box 71303                                                   Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
       Chicago, IL 60694-1303                                          disputed
     ___________________________________________________________
                                                                                           services
                                                                   Basis for the claim: ________________________

                                              10/1/19              Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed

     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




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  Debtor        _______________________________________________________   Case number (if known)_____________________________________
                Name                                                   50
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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  Debtor       _______________________________________________________   Case number (if known)_____________________________________
               Name                                                   50
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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                          and Trinity, LP                                                               20- 10885 -Pg
                                                                                                                   tmd 28 of
 Debtor     _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   50
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                     Total of claim amounts


                                                                                                         Unknown
5a. Total claims from Part 1                                                               5a.       $_____________________________




                                                                                                       2,674,241
                                                                                                     $_____________________________
5b. Total claims from Part 2                                                               5b.   +


5c. Total of Parts 1 and 2                                                                            2,674,241
                                                                                           5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
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                                               50
 Fill in this information to identify the case:

             WC 1st and Trinity, LP
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________
                                        Western                District of     _______
                                                                               TX
                                                                              (State)
 Case number (If known):
                            20-10885
                            _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       X  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                           Parking Lease Agreement                         LAZ Parking Texas, LLC
         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature                                                       106 East 6th Street, Suite 320
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                            Austin, TX      78701
                                                                                           _________________________________________________________
                                           Month-to-month with renewal
         State the term remaining         ____________________________________              Attn:     Brett Loeffler, General Manager
                                           being negotiated                                _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
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                                               50
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
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                                               50
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             WC 1st and Trinity, LP

 United States Bankruptcy Court for the:_______________________
                                        Western                 District of ________
                                                                            TX
                                                                                (State)
 Case number (If known):     20-10885
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       X
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________
         Natin Paul                   ________________________________________________________
                                      814 Lavaca Street                                                   United  Heritage                   X D
                                                                                                                                                                  
                                                                                                          _____________________
                                      Street                                                                                                 E/F
                                                                                                           Credit Union
                                      ________________________________________________________                                                G
                                      Austin                      TX
                                      ________________________________________________________
                                                                              78701
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2 World Class Capital              814  Lavaca Street
       _____________________          ________________________________________________________             United Heritage
                                                                                                           _____________________             X D
                                                                                                                                             
        Group, LLC                    Street
                                                                                                            Credit Union                     E/F
                                      ________________________________________________________                                                G
                                      Austin                   TX              78701
                                      ________________________________________________________
                                      City                        State               ZIP Code
     WC 1st and Trinity GP, LLC                                                                                                                                    
 2.3
       _____________________ 814 Lavaca Street
                             ________________________________________________________                       United Heritage
                                                                                                           _____________________             X D
                                                                                                                                             
                                      Street                                                                                                 E/F
                                                                                                             Credit Union
                                      ________________________________________________________                                                G
                                                               TX             78701
                                      ________________________________________________________
                                      Austin
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4     The Natin Paul               814 Lavaca Street
         _____________________        ________________________________________________________              United Heritage
                                                                                                           _____________________             X D
                                                                                                                                             
           Management Trust           Street                                                                 Credit Union                    E/F
                                      ________________________________________________________                                                G
                                      Austin                       TX                 78701
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
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                                                50
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
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                                             50
 Fill in this information to identify the case and this filing:


              WC 1st and Trinity, LP
 Debtor Name __________________________________________________________________
                                            Western
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             Texas
                                                                                (State)
 Case number (If known):    20-10885
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         X
               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         X
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         X     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         X Schedule H: Codebtors (Official Form 206H)

         
         X
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________
                    08/31/2020                                 _________________________________________________________________________
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor



                                                                 Barbara Lee
                                                                 ________________________________________________________________________
                                                                 Printed name

                                                                 Authorized Agent for General Partner
                                                                 ______________________________________
                                                                 Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                             50

Fill in this information to identify the case:

             WC 1st and Trinity, LP
Debtor name __________________________________________________________________
                                       Western
United States Bankruptcy Court for the: ______________________ District of _________
                                                                           Texas
                                                                              (State)
                         20-10885
Case number (If known): _________________________
               ___________________________________________


                                                                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

      ❑   None

              Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
              may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the                                                           ❑
                                                                                                 X
                                                                                                     Operating a business
             fiscal year to filing date:          01/01/2020
                                             From ___________         to     Filing date         ❑   Other _______________________    $________________
                                                                                                                                         28,509.04
                                                    MM / DD / YYYY


             For prior year:                 From ___________
                                                  01/01/2019          to     ___________
                                                                             12/31/2019          ❑
                                                                                                 X   Operating a business
                                                                                                                                      $________________
                                                                                                                                        393,068.42
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 ❑   Other _______________________
                                                                                                 X
             For the year before that:       From ___________
                                                  01/01/2018          to     12/31/2018
                                                                             ___________         ❑   Operating a business
                                                    MM / DD / YYYY            MM / DD / YYYY                                          $________________
                                                                                                                                        381,494.36
                                                                                                 ❑   Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ❑
      X   None

                                                                                                Description of sources of revenue    Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                                ___________________________          $________________
             fiscal year to filing date:     From ___________         to      Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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                                             50
                    WC 1st and Trinity, LP                                                                               20-10885
Debtor             _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
         adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         ❑      None

                 Creditor’s name and address                           Dates        Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.
                                                                       6/15/20
                 United Heritage Credit Union
                 __________________________________________           ________      $_________________
                                                                                      45,965.63                  ❑
                                                                                                                 X     Secured debt
                 Creditor’s name
                 PO Box 271
                                                                                                                 ❑     Unsecured loan repayments
                 __________________________________________
                 Street                                               ________                                   ❑     Suppliers or vendors
                 __________________________________________
                                                       76101
                                                                                                                 ❑     Services
                  Ft. Worth           TX
                 __________________________________________
                 City                          State       ZIP Code
                                                                      ________                                   ❑     Other _______________________________


         3.2.
                  City of Austin Utilities
                 __________________________________________           ________
                                                                      6/5/20-       $_________________
                                                                                       1,090.34                  ❑     Secured debt
                 Creditor’s name
                 PO Box 2267
                                                                       8/4/20                                    ❑     Unsecured loan repayments
                 __________________________________________
                 Street                                               ________                                   ❑     Suppliers or vendors
                 __________________________________________                                                      ❑
                                                                                                                 X     Services
                 Austin                   TX           78783-2267
                 __________________________________________
                 City                          State       ZIP Code
                                                                      ________                                   ❑     Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

         ❑      None

                 Insider’s name and address                            Dates        Total amount or value       Reasons for payment or transfer
         4.1.
                 WC 1st and Trinity GP, LLC                           08/28/19       45,415.94                  Transfer applied to paydown GP
                 __________________________________________           _________    $__________________         ___________________________________________
                 Insider’s name                                       10/24/19                                  advance
                  814 Lavaca Street
                 __________________________________________           _________                                ___________________________________________
                 Street
                 __________________________________________           _________                                ___________________________________________
                 Austin                       TX          78701
                 __________________________________________
                 City                          State       ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________           _________    $__________________         ___________________________________________
                 Insider’s name
                 __________________________________________           _________                                ___________________________________________
                 Street
                 __________________________________________           _________                                ___________________________________________
                 __________________________________________
                 City                          State       ZIP Code



                 Relationship to debtor

                 __________________________________________



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 2
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                                             50
                       WC 1st and Triity, LP
Debtor             _______________________________________________________                                Case number (if known)_____________________________________
                                                                                                                                  20-10885
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         ❑
         X      None
                Creditor’s name and address                          Description of the property                                   Date               Value of property
         5.1.

                __________________________________________           ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________           ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         ❑X
             None
                 Creditor’s name and address                            Description of the action creditor took                    Date action was       Amount
                                                                                                                                   taken

                 __________________________________________           ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________           ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________           Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

         ❑      None
                 Case title                                 Nature of case                          Court or agency’s name and address                 Status of case

         7.1.     See attached
                 _________________________________          ______________________________         __________________________________________          ❑   Pending
                                                                                                   Name
                                                                                                                                                       ❑   On appeal
                                                                                                   __________________________________________
                 Case number                                                                       Street                                              ❑   Concluded
                                                                                                   __________________________________________
                 _________________________________                                                 __________________________________________
                                                                                                   City                  State             ZIP Code


                 Case title                                                                          Court or agency’s name and address
                                                                                                                                                       ❑   Pending
         7.2.
                 _________________________________          ______________________________         __________________________________________          ❑   On appeal
                                                                                                   Name
                                                                                                   __________________________________________
                                                                                                                                                       ❑   Concluded
                 Case number
                                                                                                   Street
                                                                                                   __________________________________________
                 _________________________________
                                                                                                   __________________________________________
                                                                                                   City                          State     ZIP Code


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                                             50
Debtor
                       WC 1st and Trinity, LP
                   _______________________________________________________                                                    20-10885
                                                                                                      Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ❑      None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                                                                                                                          Unknown
                 Custodian’s name
                  Greg Milligan/Harney Partners                       Case title                                        Court name and address
                 __________________________________________
                 Street                                              See 7.1
                   3800 N Lamar Blvd, Suite 200                      ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                                          TX       78756
                 __________________________________________
                  Austin                                              Case number                                     __________________________________________
                 City                          State     ZIP Code                                                     Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         ❑
         X      None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


         9.1.
                __________________________________________           ___________________________________________                 _________________   $__________
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         ❑
         X      None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).


                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
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                                             50
Debtor          WC  1st and Trinity, LP
                _______________________________________________________                                                  20-10885
                                                                                                 Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         ❑   None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?

               The General Partner paid on behalf of the Debtor
              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         ❑
         X
             None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




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Debtor           WC 1st and Trinity, LP
                _______________________________________________________                             Case number (if known)_____________________________________
                                                                                                                           20-10885
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         ❑
         X   None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         ❑   Does not apply
              Address                                                                                                Dates of occupancy

               401 Congress Avenue, 33rd Floor                                                                                  11/1/13
     14.1.     _______________________________________________________________________                               From       ____________       To    3/31/19
                                                                                                                                                        ____________
              Street
                     Austin, TX 78701
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor
                    WC 1st and Trinity, LP
                 _______________________________________________________
                                                                                                                             20-10885
                                                                                                      Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
         ⎯ diagnosing or treating injury, deformity, or disease, or
         ⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?

         ❑
         X
              No. Go to Part 9.
         ❑    Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         ❑
         X    No.
         ❑    Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                      ❑   No
                      ❑   Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

         ❑X   No. Go to Part 10.
             Yes. Does the debtor serve as plan administrator?
                      ❑   No. Go to Part 10.
                      ❑   Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                          Has the plan been terminated?
                          ❑    No
                          ❑    Yes



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Debtor           _______________________________________________________
                 WC 1st and Trinity, LP                                                                                     20-10885
                                                                                                     Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         ❑   None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.
                Wells Fargo
               ______________________________________                 5565
                                                                XXXX–___ ___ ___ ___            ❑
                                                                                                X
                                                                                                  Checking                   06/17/2020
                                                                                                                            ___________________      $__________
                                                                                                                                                       0.00
               Name
                609 Castle Ridge Road                                                           ❑ Savings
               ______________________________________
               Street
                Suite 430
                                                                                                ❑ Money market
               ______________________________________
                Austin            TX               78746                                        ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            ❑ Checking                  ___________________      $__________
               Name
                                                                                                ❑ Savings
               ______________________________________
               Street                                                                           ❑ Money market
               ______________________________________
                                                                                                ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         ❑
         X
             None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________             ❑   No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                          ❑   Yes
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________           Address
               City                  State        ZIP Code
                                                               ____________________________________

                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      ❑
      X
             None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                           ❑ No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                           ❑ Yes
                                                               __________________________________          __________________________________
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor             WC 1st and Trinity, LP
                  _______________________________________________________
                                                                                                                          20-10885
                                                                                                      Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         ❑   None

              Owner’s name and address                              Location of the property                Description of the property                 Value

               San Marcos Eatery 1, LLC/NEWK's                                                              Cash-Security Deposit                       $_______
                                                                                                                                                          1,100.00
              ______________________________________                __________________________________      __________________________________
              Name
                  3821 Lorna Road                                   __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
                  Suite 107
              ______________________________________
                  Hoover             AL    35244
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
   ◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
   ◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
   ◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         ❑
         X   No
         ❑   Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________       ❑   Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                    ❑   On appeal
                                                             _____________________________________                                                  ❑   Concluded
              _________________________________              Street                                        __________________________________
                                                             _____________________________________
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         ❑
         X   No
         ❑   Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor             WC 1st and Trinity, LP
                  _______________________________________________________
                                                                                                                    20-10885
                                                                                                 Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         ❑
         X   No
         ❑   Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

         ❑
         X   None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor               WC 1st and Trinity, LP
                     _______________________________________________________                                                 20-10885
                                                                                                      Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                ❑     None
                 Name and address                                                                                   Dates of service


                  Jason Rogers                                                                                      From _______
                                                                                                                         5/2012        To _______
                                                                                                                                          Present
     26a.1.      __________________________________________________________________________________
                 Name
                     814 Lavaca Street
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                     Austin                                          TX                    78701
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service


                     Barbie Lee                                                                                     From _______
                                                                                                                          6/2012       To _______
                                                                                                                                          Present
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                     814 Lavaca Street
                 __________________________________________________________________________________
                  Austin                                       TX
                 __________________________________________________________________________________
                                                                                   78701
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                ❑X None

                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.1.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                              State                ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                              State                ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                ❑     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      ______________________________________________________________________________              _________________________________________
                        Name
                            World Class Capital Group, LLC                                                          _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                      _________________________________________
                            814 Lavaca Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                              State                ZIP Code
                            Austin                                           TX                78701

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Debtor
                      WC 1st and Trinity, LP
                      _______________________________________________________                                               20-10885
                                                                                                    Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                ❑      None

                         Name and address


                             United Heritage Credit Union
             26d.1.      ______________________________________________________________________________
                         Name
                             PO Box 271
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                             Ft. Worth                                    TX               76101
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑X
            No
         ❑    Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor
                  WC 1st and Trinity, LP
                  _______________________________________________________                                                20-10885
                                                                                                 Case number (if known)_____________________________________
                  Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
              Natin Paul                           814 Lavaca Street, Austin, TX 78701                      Manager of GP
              ____________________________         _____________________________________________         ____________________________            _______________
               WC 1st and Trinity GP, LLC 814 Lavaca Street,Austin, TX 78701                               General Partner                        1%
              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑
         X   No
         ❑   Yes. Identify below.

              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
         ❑   No
         ❑
         X   Yes. Identify below.

              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.    ______________________________________________________________              _________________________           _____________       ____________
              Name
                  As listed in Section 4
              ______________________________________________________________
              Street                                                                                                         _____________
                  (No salary or compensation to Insiders)
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

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                   WC 1st and Trinity, LP
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                                                                                                                            20-10885
                  Name




               Name and address of recipient
                                                                                             __________________________     _____________       ______________

     30.2      ______________________________________________________________
               Name                                                                                                         _____________
               ______________________________________________________________
               Street                                                                                                       _____________
               ______________________________________________________________
               ______________________________________________________________                                               _____________
               City                                           State      ZIP Code


               Relationship to debtor                                                                                       _____________

               ______________________________________________________________



   31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ❑
         X   No
         ❑   Yes. Identify below.

               Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                           corporation

              ______________________________________________________________                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ❑
         X
             No
         ❑   Yes. Identify below.

               Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   Part 14:             Signature and Declaration


              WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
              connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
              18 U.S.C. §§ 152, 1341, 1519, and 3571.

              I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
              is true and correct.

              I declare under penalty of perjury that the foregoing is true and correct.

              Executed on       08/31/2020
                               _________________
                                MM / DD / YYYY



             ___________________________________________________________
                                                                                                       Barbara Lee
                                                                                           Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

              Position or relationship to debtor ____________________________________
                                                 Authorized Agent for General Partner



         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         ❑     No
         ❑x    Yes




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  1.     Case Title:
  The Roy F. & Joann Cole Mitte Foundation v. WC 1st and Trinity, LP, WC 1st and Trinity, GP, LLC; WC 3rd
  and Congress, LP;, and, WC 3rd and Congress, GP, LLC

  Case Number:
  D-1-GN-18-007636

  Nature of Case:
  Action by minority limited partner seeking enforcement of books and records statute; and, appointment of
  receiver.

  Court or Agency’s Name and Address:
  Travis County District Court
  1000 Guadalupe
  Austin, TX 78701

  Mailing address
  P.O. Box 1748
  Austin, TX 78767

  Status: Pending

  Related Appeals:

  Case Title:
  WC 1st and Trinity, LP; WC 1st and Trinity GP, LLC; WC 3rd and Congress, LP; and WC 3rd and Congress
  GP, LLC v. The Roy F. and JoAnn Cole Mitte Foundation

  Case Number and Nature of Cases:
  03-19-00798-CV      (Mandamus)
  03-19-00799-CV      (Interlocutory)
  03-19-00905-CV      (Interlocutory)
  03-20-00139-CV      (Mandamus)

  Mandamus proceeding and interlocutory appeals of certain rulings by the Travis County District Court in
  matter number D-1-GN-007636

  Court or Agency’s Name and Address:
  Price Daniel Sr. Building
  209 West 14th Street, Room 101
  Austin, Texas 78701

  Mailing Address
  Third Court of Appeals
  PO Box 12547
  Austin, Texas 78711
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  Status:
  03-19-00798-CV          Pending
  03-19-00799-CV          Pending
  03-19-00905-CV          Pending
  03-20-00139-CV          Pending

  2.      Case Title:
  WC 1st and Trinity, LP, WC 1st and Trinity GP, LLC, WC 3rd and Congress LP, WC 3rd and Congress GP,
  LLC v. The Roy F. and Joann Cole Mitte Foundation and Dilum Chandrasoma

  Case Number:
  Case No. 01-19-0000-5347, before the American Arbitration Association before the Honorable Suzanne
  Covington

  Nature of Case:
  Debtor sued minority partner for breach of partnership agreement; additional various claims and
  counterclaims under the arbitration clauses of the two operating limited partnership agreements including
  but not limited to breach of contract, tortious interference with contract and perspective business
  relationships, and declaratory judgment.

  Court or Agency’s Name and Address:
  American Arbitration Association
  13727 Noel Road, Suite 700
  Dallas, TX 75240

  Status: Pending

  3.     Case Title:
  Gegory S. Milligan as receiver for WC 1st and Trinity, LP v. World Class Capital Group, LLC

  Case Number:
  D-1-GN-19-008609

  Nature of Case:
  Claim under Tex. Bus. & Comm. Code §24.005(a).

  Court or Agency’s Name and Address:
  Travis County District Court
  1000 Guadalupe
  Austin, TX 78701

  Mailing address
  P.O. Box 1748
  Austin, TX 78767

  Status: Pending
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  4.      Case Title:
  1st and Trinity Super Majority, LLC and 3rd and Congress Super Majority, LLC v. Gregory Milligan,
  individually and as Receiver for WC 1st and Trinity, LP and WC 3rd and Congress, LP, Stephen Lemmon,
  Rhonda Mates, and Ray Chester

  Case Number:
  D-1-GN-20-003550

  Nature of Case:
  The Super Majority Limited Partners of two limited partnerships seek monetary relief of more than
  $100,000,000 due to defendants’ inappropriate interference with the management and affairs of the limited
  partnerships, and a declaratory judgment under Texas Civil Practice and Remedies Code Section
  37.004(a) to determine the lawfulness and scope, if any, of the receiverships involuntarily imposed in the
  other related proceedings.

  Court or Agency’s Name and Address:
  Travis County District Court
  1000 Guadalupe
  Austin, TX 78701

  Mailing address
  P.O. Box 1748
  Austin, TX 78767

  Status: Pending
